Case 2:05-cv-02188-.]PI\/|-tmp Document 27 Filed 06/15/05 Page 1 of 5 Page|D 36
Fn.Et) s~,~ `_ _

UNlTED STATES DISTRICT COURT

WESTERN DISTRICT oF TENNESSEE HOBFW \_
WESTERN DIVISION mass < ' t§¢"§._’~;;,l§OI-@
""D Ol‘ l'N. H-`§t`m?rls

UNITED STATES OF AMERICA,
Plaintiff
v.

BRYAN CONSTRUCTION COMPANY, ]NC.,
PATTON & TAYLOR CONSTRUC'I`ION CO.,
TAYLOR GARDNER ARCHITECTS, INC.,
LOONEY-RICKS-KISS A_RCHITECTS, INC.,
RICHARD A. BARRON, THE REAVES FIRM,
]NC., SMITH ENGINEERB\IG FIRM, lNC.,
DAVID W. MILEM, BELZ / SOUTH BLUFFS,
INC., HT DEVCO, ]NC. and STEVE BRYAN.

Case No.: 05~2188-Ml/P

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Defendants.
"PRC)‘POSE'D SCHEDULING ()RDER
Pursuant to written notice, a scheduling conference Was held on June 9, 2005 by

telephone Present Were Thomes Keary, end Kevin Kij ewski, counsel for the United States, and
Theresa Kitay, Joel Roberts, Steve Snn'th, Barry Bridgforth, William Jeter, John McQuiston, and
Ted Hayden counsel for defendants At the conference the following dates were established as
the final dates for:
INITIAL DISCLOSURES pursuant to Fed. R. Civ. P. 26(&)(1): July 8, 2005.
JOINING PARTIES: September 23, 2005.
AMENDING PLEADINGS: Septelnber 23, 2005 .
INITIAL MOTIONS TO DISMISS: Sreptember 23, 2005 .
COMPLETING ALL DISCOVERY: April 28, 2006.

(e) DOCUMENT PRODUCTI()N: April 28, 2006.

this document entered on the docket sheet fn compile/nce
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with Hule 58 and/or 79(a) FRCP on ' ' 1 /

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(b) DEPOSITIONS, INTERROGATORIES AND REQUESTS F()R
ADMISSIONS: April 28, 2006.

(c) EXPERT WITNESS DISCLOSURE (Rule 26):

(1) I)ISCLOSURE OF PLAINTIFF’S RULE 26 EXPER'I`
INFORMATION: Febl'uary 24, 2006.

(2) DISCLOSURE OF DEFENDANT’S RULE 26 EXPERT
INFORMATION: March 24, 2006.

(3) EXPERT WITNESS DEPOSITIONS; Aprii 28, 2006.
FILING DIsPosITIVE MoTIoNs: May 26, 2006.
oTHER RELEVANT MATTERS=

The parties by written stipulation pursuant to Fed. R. Civ. P. 30(a)(2) agree that the
United States may take up to 20 depositions without leave of the Court.

No deposition may be scheduled to occur after the discovery cutoff date. All motions,
requests for admissions, or other filings that require a response must be filed sufficiently in
advance of the discovery cutoff date to enable opposing counsel to respond by the time permitted
by the Rules prior to that date.

Motions to compel discovery are to be filed and served by the discovery deadline or
within 30 days of the default or the service of the response, answer, or objection, which is the
subject of the motion, if the default occurs within 30 days of the discovery deadline, unless the
time for filing of such motion is extended for good cause shown, or the objection to the default,
response, answer, or objection shall be waived.

This case is set for jury trial, and the trial is expected to last 12 days. The pretrial order
date, pretrial conference date, and trial date will be set by the presiding judge,

This case is appropriate for ADR. The parties are directed to engage in court-annexed
attorney mediation or private mediation during discovery or after the close of discovery

The parties are reminded that pursuant to Local Rule ll(a)(l)(A), all motions, except
motions pursuant to Fed. R. Civ. P. 12, 56, 59, and 60 shall be accompanied by a proposed order.

The opposing party may file a response to any motions filed in this matter. Neither party
may file an additional reply, however, Without leave of the court. If a party believes that a reply
is necessary, it shall file a motion for leave to file a reply accompanied by a memorandum setting

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for the reasons for which a reply is required
The parties have not consented to trial before the magistrate judge.

This order has been entered after consultation with trial counsel pursuant to notice.
Absent good cause shown, the Scheduling dates set by this order Will not be modified or
extended.

IT IS S() ORDERED.

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lvA_/\/
TU M. PHAM
UNITED STATES MAGISTRATE JUDGE

DATE; film l“l! mcf

 

Notice of Distribution

This notice confirms a copy of` the document docketed as number 27 in
case 2:05-CV-02188 Was distributed by f`ax, mail, or direct printing on
.lune 16, 2005 to the parties listed.

ESSEE

 

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US DISTRICT COURT

